Case 2:04-cr-20506-.]PI\/| Document 24 Filed 06/24/05 Page 1 of 3 Page|D 47

IN THE UNITED sTATEs DIsTRIcT coURT F:i_._ %____
FOR THE wEsTERN DISTRICT OF TENNESSEE ` _ _
wEsTERN DIvIsIoN 05 .jUL-t 214 r`.`tt;__- b_

 

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(" "` ' \':. §.,
`&r'f.*t.j. ctr `|i"g! tu.,-¢L'i'\¢;

 

UNITED STATES OF AMERICA
Plaintiff,
Criminal No. @"/ - ZOFOCO Ml

(3 0 -Day Continuance)

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Defendant (s) .

 

CONSEN'I` ORDER ON CRIMINAL CASE CONTINUANCE
AND EXCLUSION OF` TIME

 

As indicated by the signatures below, the United States,
through its Assistant United States Attorney, and counsel for the
defendant(s) have agreed that, for good cause, this case should be
continued for reasons resulting in the exclusion of time under the
Speedy' Trial Act. The case is currently set on the July, 2005,

criminal rotation calelndar, but is now RESET for report at__$.r_@‘tt‘ S:?O
77’\.|.¢{§-
a.m. on .Eas-a'_~d'a"f, July;é-Z_",: 2005, with trial to take place on the

August, 2005 rotation calendar with the time excluded under the
Speedy Trial Act through August 12, 2005. Agreed in open court at

report date this 24th day of June, 2005.

Th|s document entered on the docket sheet in compliance
with Hula 55 and/or 32(b) FRCrP on * '

Case 2:04-cr-20506-.]PI\/| Document 24 Filed 06/24/05 Page 2 of 3 Page|D 48

so oRDERED this 24th day of June, 2005.

€M§Q

JO PHIPPS MCCALLA
ITED STATES DISTRICT JUDGE

 

Z/! ada `

Assistant United States Attorney

 

 

 

 

C ls E'f r endant(s)

   

UNITED S`TATE DRISTIC COUR - W'"ERNT D'S'TRCT oFTENNESSEE

Notice of Distribution

ThiS notice confirms a copy of the document docketed as number 24 in
case 2:04-CR-20506 Was distributed by faX, mail, or direct printing on
June 27, 2005 to the parties listed.

 

 

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Honorable J on McCalla
US DISTRICT COURT

